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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DOUGLAS MARSHALL, SIMON                        :
CAMPBELL, ROBERT ABRAMS, AND                   :
TIMOTHY DALY,                                  :
     Plaintiffs,                               :   Civil Action No. 2:21-cv-04336
                                               :
      v.                                       :
                                               :   Honorable Gene E.K. Pratter
                                               :
PETER C. AMUSO, et al.
                                               :   JURY TRIAL DEMANDED
     Defendants.

  ANSWER TO COMPLAINT WITH AFFIRMATIVE DEFENSES OF DEFENDANTS
               PETER AMUSO AND MICHAEL CLARKE

       AND NOW, come Defendants, Peter C. Amuso, Esq. and Michael P. Clarke, Esq.

(“Answering Defendants”), by and through their attorneys, Sweet, Stevens, Katz & Williams, LLP,

and hereby respond to the Complaint filed against them and others, with the following responses

and averments together with Affirmative Defenses:

                                       INTRODUCTION

       Denied. No response is required under the relevant Federal Rules of Civil Procedure. To

the extent that a response is deemed required, the factual averments of this paragraph are denied.

No response is necessary to the legal conclusions of this section. By way of further response, on

November 19, 2020, Policy 903 was updated to clarify certain provisions regarding, among other

things, the two public comment periods during meetings. Policy 903 was formed based upon a

standard policy that was prepared by the Pennsylvania School Boards Association and circulated

to school districts in the Commonwealth of Pennsylvania for consideration and potential adoption.

Since the filing of the Complaint, Policy 903 has been replaced and Policy 922 has been repealed.

No current policies of the District violate the First Amendment rights of any Plaintiff. Therefore,

Plaintiffs’ claims have been rendered moot.
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                                    THE PARTIES

1. Admitted upon information and belief.

2. Admitted upon information and belief.

3. Admitted upon information and belief.

4. Admitted upon information and belief.

5. Admitted in part. Denied in part. It is admitted only that Amuso was and is the Assistant

   Solicitor for the Pennsbury School District. The remaining averments of this paragraph

   are denied. By way of further response, the official capacity claims merge with the claims

   against the District.

6. Admitted in part. Denied in part. It is admitted only that Clarke was and is the Solicitor

   for the Pennsbury School District. The remaining averments of this paragraph are denied.

   By way of further response, the claims for official capacity merge with the claims against

   the District.

7. Admitted.

8. Admitted in part. Denied in part. It is admitted only that Gibson is Pennsbury’s Director

   of Equity, Diversity, and Education. The remaining averments of this paragraph are

   denied. By way of further response, the official capacity claims merge with the claims

   against the District.

9. Denied. Toy-Dragoni is no longer a Director of the Pennsbury School Board and has not

   been since December 2021. The remaining averments of this paragraph are denied to the

   extent that a response is deemed necessary. By way of further response, the official

   capacity claims merge with the claims against the District.




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10. Admitted in part. Denied in part. It is admitted that Waldorf is a member of the School

   Board. It is denied that he is currently Vice President. The remaining averments of this

   paragraph are denied to the extent that a response is deemed necessary. By way of further

   response, the official capacity claims merge with the claims against the District.

11. Admitted in part. Denied in part. It is admitted that Taylor is a member of the School

   Board. It is denied that he is currently Assistant Secretary. The remaining averments of

   this paragraph are denied to the extent that a response is deemed necessary. By way of

   further response, the official capacity claims merge with the claims against the District.

12. Denied. Goldberg is not currently a member of the School Board. The remaining

   averments of this paragraph are denied to the extent that a response is deemed necessary.

   By way of further response, the official capacity claims merge with the claims against the

   District.

13. Denied as stated. Kannan is a member of the School Board. The remaining averments of

   this paragraph are denied to the extent that a response is deemed necessary. By way of

   further response, the official capacity claims merge with the claims against the District.

14. Denied. Pallotta is not currently a member of the School Board. The remaining averments

   of this paragraph are denied to the extent that a response is deemed necessary. By way of

   further response, the official capacity claims merge with the claims against the District.

15. Admitted only that Palsky is a member of the School Board. The remaining averments of

   this paragraph are denied to the extent that a response is deemed necessary. By way of

   further response, the official capacity claims merge with the claims against the District.




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16. Admitted only that Sanderson is a member of the School Board. The remaining averments

   of this paragraph are denied to the extent that a response is deemed necessary. By way of

   further response, the official capacity claims merge with the claims against the District.

17. Denied. Wachspress is not currently a member of the School Board. The remaining

   averments of this paragraph are denied to the extent that a response is deemed necessary.

   By way of further response, the official capacity claims merge with the claims against the

   District.

18. Denied.

                            JURISDICTION AND VENUE

19. Denied. No response is necessary as the averments of this paragraph are conclusions of

   law and therefore the same are denied.

20. Admitted.

                               STATEMENT OF FACTS

21. Denied. Policy 903 is a document that speaks for itself and any characterizations and

   representations of same are therefore denied. By way of further response, Policy 903 was

   replaced effective March 18, 2022.

22. Denied. Policy 903 is a document that speaks for itself and any characterizations and

   representations of same are therefore denied. By way of further response, Policy 903 was

   replaced effective March 18, 2022.

23. Denied. Policy 903 is a document that speaks for itself and any characterizations and

   representations of same are therefore denied. By way of further response, Policy 903 was

   replaced effective March 18, 2022.




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24. Admitted in part. Denied in part. It is admitted only that Policy 903 was revised at the

   June 17, 2021 School Board meeting. The remaining averments of this paragraph are

   denied in that Policy 903 is a document that speaks for itself and any characterizations and

   representations of same are therefore denied. By way of further response, Policy 903 was

   replaced effective March 18, 2022.

25. Denied. Policy 903 is a document that speaks for itself and any characterizations and

   representations of same are therefore denied. By way of further response, Policy 903 was

   replaced effective March 18, 2022.

26. Denied. Policy 903 is a document that speaks for itself and any characterizations and

   representations of same are therefore denied. By way of further response, Policy 903 was

   replaced effective March 18, 2022.

27. Denied. Policy 903 is a document that speaks for itself and any characterizations and

   representations of same are therefore denied. By way of further response, Policy 903 was

   replaced effective March 18, 2022.

28. Denied. Policy 903 is a document that speaks for itself and any characterizations and

   representations of same are therefore denied. By way of further response, Policy 903 was

   replaced effective March 18, 2022.

29. Denied.

30. Denied.

31. Denied.

32. Denied. Policy 903 is a document that speaks for itself and any characterizations and

   representations of same are therefore denied. By way of further response, Policy 903 was

   replaced effective March 18, 2022.




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33. Denied. Policy 903 is a document that speaks for itself and any characterizations and

   representations of same are therefore denied. By way of further response, Policy 903 was

   replaced effective March 18, 2022.

34. Admitted.

35. Denied. Policy 922 is a document that speaks for itself and any characterizations and

   representations of same are therefore denied. By way of further response, Policy 922 was

   repealed on March 17, 2022.

36. Denied. Policy 922 is a document that speaks for itself and any characterizations and

   representations of same are therefore denied. By way of further response, Policy 922 was

   repealed on March 17, 2022.

37. Admitted upon information and belief.

38. Denied as stated. On April 20, 2020, Governor Wolf signed Act 15 of 2020 into law, which

   allowed school districts in Pennsylvania to conduct their school board meetings virtually,

   and to provide for public participation in those meetings through public comment. See 35

   Pa.C.S. §5741(a). See also McGrath v. Board of School Directors of the City of Scranton,

   2020 WL 5904514 (Lackawanna Cty. Com. Pl. October 4, 2020) (applying Act 15 to

   school districts.) From July 2020 through April 2021, the District utilized this provision

   of Act 15 to accept written public comment. From July 2020 through January 2021, written

   comment was the exclusive method of public comment at Board meetings. From February

   through April 2021, both written public comment and in-person public comment were

   allowed, although a member of the public could not do both. From May 2021, the District

   resumed in-person public comment as the exclusive method of public participation in

   Board meetings.     The written comments would be included on a Microsoft Excel




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   spreadsheet and attached to the Board meeting minutes. Members of the public were

   advised that they could submit comments for the next board meeting beginning forty-eight

   (48) hours prior to the meeting. Initially, the deadline for submission of such comments

   was set for 6 p.m., but later moved to 4 p.m. to provide additional time to get the comments

   to the members of the Board so that they could review the comments before taking action

   on agenda items.

39. Admitted only that Abrams submitted comments and many were critical of Pennsbury, its

   school board, and various Pennsbury personnel.          By way of further response, the

   allegations in the comments are denied.

40. Admitted in part. Denied in part. It is admitted only that Abrams emailed Kannan and that

   Kannan replied by email. The remaining averments of this paragraph are denied in the

   emails speaks for themselves and the characterizations and representations of same in this

   paragraph are therefore denied.

41. Admitted in part. Denied in part. It is admitted only that Toy-Dragoni made comments.

   The remaining averments of his paragraph are denied.

42. Admitted.

43. Denied.

44. Denied.

45. Admitted.

46. Admitted in part. Denied in part. It is admitted only that Daly’s December 17, 2020 written

   comment was neither posted online nor read and that the District received the comment.

   The comments speak for themselves and the characterizations and representations of same




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   in this paragraph are therefore denied. The allegations included in the comments are also

   denied.

47. Admitted in part. Denied in part. It is admitted only that Abrams’ December 17, 2020

   written comment was neither posted online nor read and that the District received the

   comment.      The comments speak for themselves and the characterizations and

   representations of same in this paragraph are therefore denied. The allegations included in

   the comments are also denied. By way of further response, Abrams’ December 17, 2020

   written comment was not accepted only because it was untimely and Mr. Abrams was

   advised in writing of same.

48. Admitted in part. Denied in part. It is admitted only that Daly submitted written comments

   for the January 21, 2021 Board meeting. The comments speak for themselves and the

   characterizations and representations of same in this paragraph are therefore denied. The

   allegations included in the comments are also denied.

49. Admitted in part. Denied in part. It is admitted only that Langtry emailed Daly. The email

   speaks for itself and the characterizations and representations of same in this paragraph are

   therefore denied.

50. Admitted in part. Denied in part. It is admitted only that Abrams submitted written

   comments in advance of the January 21, 2021 School Board meeting. The allegations

   included in the comments are also denied.

51. Admitted in part. Denied in part. It is admitted only that Langtry emailed Abrams. The

   email speaks for itself and the characterizations and representations of same in this

   paragraph are therefore denied.




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52. Admitted in part. Denied in part. It is admitted only that Abrams and Daly submitted

   comments for the February 18, 2021 School Board meeting. The remaining averments of

   this paragraph are denied.

53. Denied. The comments speak for themselves and the characterizations and representations

   of same in this paragraph are therefore denied. The allegations included in the comments

   are also denied.

54. Denied. The comments speak for themselves and the characterizations and representations

   of same in this paragraph are therefore denied. The allegations included in the comments

   are also denied.

55. Denied as stated. Over one hundred written comments accepted for the February 18, 2021

   Board Meeting, including comments from Daly and Abrams were accepted, provided to

   the Board members before they took action on the agenda items that night, and attached as

   exhibits to the minutes of the meeting. The February 18, 2021, Board Meeting was to the

   District’s first in-person meeting since the beginning of the pandemic, but was converted

   to fully virtual because of a snowstorm. By way of further response, the Board stopped

   reading written comments at the meetings because doing so gave the appearance that the

   comments were coming from the Board itself and not from the member of the public who

   submitted the comment.

56. Admitted in part. Denied in part. It is admitted that Abrams submitted written comments

   on or about March 4, 2021. The remaining averments of this paragraph are denied in that

   the comments speaks for themselves and the characterizations and representations of same

   in this paragraph are therefore denied. The allegations included in the comments are also

   denied.




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57. Admitted in part. Denied in part. It is admitted only that Langtry emailed Abrams. The

   email speaks for itself and the characterizations and representations of same in this

   paragraph are therefore denied.

58. Admitted in part. Denied in part. It is admitted only that the District adopted a statement

   known as an Equity Vision Statement. The remaining averments of this paragraph are

   denied in that the Equity Vision Statement is a written document that speaks for itself and

   any characterization or representation of same is therefore denied.

59. Denied.

60. Admitted. By way of further response, the March 18, 2021 meeting was limited to comply

   with local and state laws regarding indoor capacity restrictions due to COVID-19.

61. Admitted.

62. Admitted.

63. Admitted.

64. Admitted.

65. Admitted.

66. Admitted.

67. Admitted in part. Denied in part. It is admitted only that Marshall made the comments as

   described in this paragraph. The remaining averments of this paragraph are denied.

68. Admitted.

69. Admitted in part. Denied in part. It is admitted only that Gibson emailed Toy-Dragoni

   about Marshall’s comments. The email speaks for itself and the characterizations and

   representations of same in this paragraph are therefore denied. The remaining averments

   of this paragraph are denied.




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70. Denied.   The email is a writing that speaks for itself and any characterization or

   representation of same is therefore denied.

71. Denied.   The email is a writing that speaks for itself and any characterization or

   representation of same is therefore denied.

72. Denied.   The email is a writing that speaks for itself and any characterization or

   representation of same is therefore denied.

73. Denied.   The email is a writing that speaks for itself and any characterization or

   representation of same is therefore denied.

74. Denied.   The email is a writing that speaks for itself and any characterization or

   representation of same is therefore denied.

75. Denied.   The email is a writing that speaks for itself and any characterization or

   representation of same is therefore denied.

76. Admitted in part. Denied in part. It is admitted only that Toy-Dragoni replied to Gibson

   via e-mail. The remaining averments of this paragraph are denied in that the email is a

   writing that speaks for itself and any characterization or representation of same is therefore

   denied.

77. Denied.   The email is a writing that speaks for itself and any characterization or

   representation of same is therefore denied.

78. Admitted in part. Denied in part. It is admitted only that Gibson replied to Toy-Dragoni.

   The remaining averments of this paragraph are denied in that the email is a writing that

   speaks for itself and any characterization or representation of same is therefore denied.

79. Admitted in part. Denied in part. It is admitted only that Langtry emailed Gibson and

   Gretzula. The remaining averments of this paragraph are denied.




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80. Admitted in part. Denied in part. It is admitted only that a recording of the March 18,

   2021 meeting was edited. The remaining averments of this paragraph are denied. By way

   of further response, there is no legal requirement or obligation otherwise that the District

   publish the video online and Plaintiffs do not have any First Amendment rights regarding

   same. Plaintiffs do not have any First Amendment rights regarding the video created from

   the meeting.

81. Admitted in part. Denied in part. It is admitted only that a disclaimer was added and that

   the video was edited. The remaining averments of this paragraph are denied.

82. Denied.

83. Admitted in part. Denied in part. It is admitted only that a statement was released. The

   remaining averments of this paragraph are denied in that the statement is a writing that

   speaks for itself and any characterization or representation of same is therefore denied.

84. Denied. The statement is a writing that speaks for itself and any characterization or

   representation of same is therefore denied.

85. Denied. The statement is a writing that speaks for itself and any characterization or

   representation of same is therefore denied.

86. Denied.

87. Denied as stated. The unedited video of the March 18, 2021 school board meeting was

   also published by the District with a disclaimer.

88. Admitted.

89. Admitted in part. Denied in part. It is admitted only that Daly and Amuso spoke at the

   meeting. The remaining averments of this paragraph are denied. Additionally, both Daly




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   and Abrams were given an opportunity to ask questions of Dr. Gibson after her

   presentation.

90. Denied. No response is necessary as the averments of this paragraph are conclusions of

   law and therefore the same are denied.

91. Admitted.

92. Denied. No response is necessary as the averments of this paragraph are conclusions of

   law and therefore the same are denied.

93. Denied as stated. Amuso explained to Marshall that his speech was not relevant and

   therefore in violation of Policy 903 at that time.

94. Denied. No response is necessary as the averments of this paragraph are conclusions of

   law and therefore the same are denied.

95. Denied. No response is necessary as the averments of this paragraph are conclusions of

   law and therefore the same are denied.

96. Admitted in part. Denied in part. It is admitted that Amuso and Abrams spoke as stated.

   The remaining averments of this paragraph are denied.

97. Admitted in part. Denied in part. It is admitted only that Gretzula made the comment as

   described in this paragraph. The remaining averments of this paragraph are denied.

98. Denied.

99. Admitted.

100.      Denied.

101.      Admitted.

102.      Admitted.

103.      Admitted.




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104.      Admitted in part. Denied in part. It is admitted only that Clark and Campbell spoke

   at the meeting. The remaining averments of this paragraph are conclusions of law and

   therefore the same are denied. To the extent that a response is deemed necessary, the

   averments of this paragraph are denied.

105.      Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary. To the extent that a response is deemed necessary, the averments

   of this paragraph are denied.

106.      Admitted in part. Denied in part. It is admitted only that Plaintiffs continue to

   speak at meetings and have not been harmed in any way. The remaining averments of this

   paragraph are denied as conclusions of law to which no response is necessary. To the

   extent that a response is deemed necessary, the averments of this paragraph are denied.

107.      Denied. By way of further response, Policy 903 was revised on March 18, 2022

   and there is no requirement that a person must provide a home address prior to speaking at

   a meeting.

                             COUNT ONE
   RIGHTS OF FREE SPEECH, U.S. CONST. AMENDS. I, XIV, 42 U.S.C. § 1983
   FACIAL CHALLENGE TO PENNSBURY POLICY 903, SPEECH CONTENT

108.      Answering Defendants hereby incorporate their responses and averments to

   Paragraphs 1 through 107 as though fully set forth herein.

109.      Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary.

110.      Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary.

111.      Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary.


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112.      Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary.

113.      Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary.

114.      Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary.

115.      Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary.

116.      Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary.

117.      Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary. By way of further response, the challenged terms do not appear

   in Policy 903 as revised on March 18, 2022.

118.      Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary. By way of further response, the challenged terms do not appear

   in Policy 903 as revised on March 18, 2022.

119.      Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary. By way of further response, the challenged terms do not appear

   in Policy 903 as revised on March 18, 2022.

120.      Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary. By way of further response, the challenged terms do not appear

   in Policy 903 as revised on March 18, 2022.




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                              COUNT TWO
  RIGHTS OF FREE SPEECH, U.S. CONST. AMENDS. I, XIV, 42 U.S.C. § 1983
 AS-APPLIED CHALLENGE TO PENNSBURY POLICY 903, SPEECH CONTENT

121.        Answering Defendants hereby incorporate their responses and averments to

   Paragraphs 1 through 120 as though fully set forth herein.

122.        Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary.

123.        Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary.

124.        Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary.

125.        Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary. By way of further response, the challenged terms do not appear

   in Policy 903 as revised on March 18, 2022.

126.        Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary. To the extent that a response is deemed necessary, the averments

   of this paragraph are denied.

127.        Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary. By way of further response, the challenged terms do not appear

   in Policy 903 as revised on March 18, 2022.

                                  COUNT THREE
         RIGHT TO PETITION, U.S. CONST. AMENDS. I, XIV, 42 U.S.C. § 1983
       FACIAL CHALLENGE TO PENNSBURY POLICY 903, SPEECH CONTENT

128.        Answering Defendants hereby incorporate their responses and averments to

   Paragraphs 1 through 127 as though fully set forth herein.




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129.      Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary.

130.      Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary.

131.      Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary.

132.      Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary. By way of further response, the challenged terms do not appear

   in Policy 903 as revised on March 18, 2022.

133.      Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary. By way of further response, the challenged terms do not appear

   in Policy 903 as revised on March 18, 2022.

134.      Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary. By way of further response, the challenged terms do not appear

   in Policy 903 as revised on March 18, 2022.

135.      Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary. By way of further response, the challenged terms do not appear

   in Policy 903 as revised on March 18, 2022.

                             COUNT FOUR
     RIGHT TO PETITION, U.S. CONST. AMENDS. I, XIV, 42 U.S.C. § 1983
 AS-APPLIED CHALLENGE TO PENNSBURY POLICY 903, SPEECH CONTENT

136.      Answering Defendants hereby incorporate their responses and averments to

   Paragraphs 1 through 135 as though fully set forth herein.

137.      Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary.


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138.        Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary. By way of further response, the challenged terms do not appear

   in Policy 903 as revised on March 18, 2022.

139.        Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary. By way of further response, the challenged terms do not appear

   in Policy 903 as revised on March 18, 2022.

                                COUNT FIVE
       RIGHT OF FREE SPEECH, U.S. CONST. AMENDS. I, XIV, 42 U.S.C. § 1983
           FACIAL CHALLENGE TO PENNSBURY POLICY 922, CIVILITY

140.        Answering Defendants hereby incorporate their responses and averments to

   Paragraphs 1 through 139 as though fully set forth herein.

141.        Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary. By way of further response, Policy 922 was repealed on March

   17, 2022.

142.        Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary. By way of further response, Policy 922 was repealed on March

   17, 2022.

143.        Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary. By way of further response, Policy 922 was repealed on March

   17, 2022.

144.        Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary. By way of further response, Policy 922 was repealed on March

   17, 2022.




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145.      Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary. By way of further response, Policy 922 was repealed on March

   17, 2022.

                                COUNT SIX
       RIGHT TO PETITION, U.S. CONST. AMENDS. I, XIV, 42 U.S.C. § 1983
         FACIAL CHALLENGE TO PENNSBURY POLICY 922, CIVILITY

146.      Answering Defendants hereby incorporate their responses and averments to

   Paragraphs 1 through 145 as though fully set forth herein.

147.      Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary. By way of further response, Policy 922 was repealed on March

   17, 2022.

148.      Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary. By way of further response, Policy 922 was repealed on March

   17, 2022.

149.      Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary. By way of further response, Policy 922 was repealed on March

   17, 2022.

150.      Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary. By way of further response, Policy 922 was repealed on March

   17, 2022.

                               COUNT SEVEN
                   CONSPIRACY TO VIOLATE CIVIL RIGHTS
                  U.S. CONST. AMENDS. I, XIV, 42 U.S.C. § 1983

151.      Answering Defendants hereby incorporate their responses and averments to

   Paragraphs 1 through 150 as though fully set forth herein.




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152.      Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary.

153.      Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary. To the extent that it is deemed that this paragraph includes factual

   averments, said averments are specifically denied with strict proof demanded.

154.      Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary.

                           COUNT EIGHT
   RIGHT OF FREE SPEECH, U.S. CONST. AMENDS. I, XIV, 42 U.S.C. § 1983
 FACIAL CHALLENGE TO PENNSBURY POLICY 903, ADDRESS DISCLOSURE

155.      Answering Defendants hereby incorporate their responses and averments to

   Paragraphs 1 through 154 as though fully set forth herein.

156.      Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary.

157.      Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary. By way of further response, Policy 903 was revised on March

   18, 2022 and there is no requirement that a person must provide a home address prior to

   speaking at a meeting.

158.      Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary. By way of further response, Policy 903 was revised on March

   18, 2022 and there is no requirement that a person must provide a home address prior to

   speaking at a meeting.




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                             COUNT NINE
          VAGUENESS, U.S. CONST. AMENDS. I, XIV, 42 U.S.C. § 1983
                        PENNSBURY POLICY 903

159.      Answering Defendants hereby incorporate their responses and averments to

   Paragraphs 1 through 158 as though fully set forth herein.

160.      Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary.

161.      Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary. By way of further response, the challenged terms do not appear

   in Policy 903 as revised on March 18, 2022.

162.      Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary. By way of further response, the challenged terms do not appear

   in Policy 903 as revised on March 18, 2022.

                             COUNT TEN
          VAGUENESS, U.S. CONST. AMENDS. I, XIV, 42 U.S.C. § 1983
                        PENNSBURY POLICY 922

163.      Answering Defendants hereby incorporate their responses and averments to

   Paragraphs 1 through 162 as though fully set forth herein.

164.      Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary. By way of further response, Policy 922 was repealed on March

   17, 2022.

165.      Denied. The averments of this paragraph are denied as conclusions of law to which

   no response is necessary. By way of further response, Policy 922 was repealed on March

   17, 2022.




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       WHEREFORE, Defendants, Michael P. Clarke, Esq. and Peter C. Amuso, Esq., hereby

demand that the Complaint filed against them be dismissed with prejudice and judgment entered

in their favor and against Plaintiffs together with costs and fees as permitted by law.


                                 AFFIRMATIVE DEFENSES


                              FIRST AFFIRMATIVE DEFENSE

       Plaintiffs’ Complaint fails to set forth a cause of action and claim for relief against

Defendants upon which relief may be granted as a matter of law.

                             SECOND AFFIRMATIVE DEFENSE

       Plaintiffs have not suffered any harm as a result of any action of Answering Defendants.


                              THIRD AFFIRMATIVE DEFENSE

       Answering Defendants were not “the enforcers” of Policy 903.


                             FOURTH AFFIRMATIVE DEFENSE

       Answering Defendants were not “the enforcers” of Policy 922.


                              FIFTH AFFIRMATIVE DEFENSE

       Plaintiffs have not sustained any actual, compensable damages.


                              SIXTH AFFIRMATIVE DEFENSE

       Plaintiffs are not entitled to an award of punitive damages, compensatory damages,

consequential damages, pre or post judgment interest, declaratory relief, equitable relief, or the

recovery of attorneys’ fees and costs.




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                             SEVENTH AFFIRMATIVE DEFENSE

        Policy 922 was repealed on March 17, 2022, and Plaintiffs’ claims have therefore been

rendered moot as a result.

                              EIGHTH AFFIRMATIVE DEFENSE

        Policy 903 was revised as of March 18, 2022, and Plaintiffs’ claims have therefore been

rendered moot as a result.

                               NINTH AFFIRMATIVE DEFENSE

        Answering Defendants assert all rights and defenses which may be available to them under

42 U.S.C. §§1981-1988 and other applicable law.

                              TENTH AFFIRMATIVE DEFENSE

        Answering Defendants are entitled to qualified immunity from each and every claim

asserted against them in the Complaint.

                             ELEVENTH AFFIRMATIVE DEFENSE

        Answering Defendants’ actions and conduct were not motivated by evil motive or intent.

                              TWELTH AFFIRMATIVE DEFENSE

        Answering Defendants did not act with reckless or callous indifference to the federally

protected right of others, including Plaintiffs.

                          THIRTEENTH AFFIRMATIVE DEFENSE

        Defendants cannot conspire amongst themselves as a matter of law.

                          FOURTEENTH AFFIRMATIVE DEFENSE

        Answering Defendants are not state actors for purposes of Plaintiffs’ Section 1983 claims.

                             FIFTEENTH AFFIRMATIVE DEFENSE

        Answering Defendants did not reach an agreement with any Defendant to violate the rights

of any Plaintiff.


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                           SIXTEENTH AFFIRMATIVE DEFENSE

       In the event that there is a judicial determination that Plaintiffs were state actors, which is

expressly denied, Plaintiffs’ claims against Answering Defendants in their official capacity merge

with the claims against the District as a matter of law.



       WHEREFORE, Defendants, Michael P. Clarke, Esq. and Peter C. Amuso, Esq., hereby

demand that the Complaint filed against them be dismissed with prejudice and judgment entered

in their favor and against Plaintiffs together with costs and fees as permitted by law.



                                       SWEET, STEVENS, KATZ & WILLIAMS LLP


Date: April 18, 2022                   By: /s/ Gary H. Dadamo
                                           Gary H. Dadamo, Esquire, Atty. I.D. # 93292
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                                           Attorney for Defendants,
                                           Peter C. Amuso and Michael P. Clarke




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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DOUGLAS MARSHALL, SIMON                      :
CAMPBELL, ROBERT ABRAMS, AND                 :
TIMOTHY DALY,                                :
     Plaintiffs,                             :   Civil Action No. 2:21-cv-04336
                                             :
      v.                                     :
                                             :   Honorable Gene E.K. Pratter
                                             :
PETER C. AMUSO, et al.
                                             :
     Defendants.

                               CERTIFICATE OF SERVICE

        I, Gary H. Dadamo, Esquire, counsel for the Defendants, hereby certify that a true and
correct copy of the foregoing Answer to Complaint with Affirmative Defenses is available and
was served through the Court’s ECF filing system upon counsel of record.

                                    SWEET, STEVENS, KATZ & WILLIAMS LLP


Date: April 18, 2022                By: /s/ Gary H. Dadamo
                                        Gary H. Dadamo, Esquire, Atty. I.D. # 93292
                                        331 E. Butler Avenue, P. O. Box 5069
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                                        Attorney for Defendants,
                                        Peter C. Amuso and Michael P. Clarke
